                IN THE UNITED STATES DISTRICT COURT
                 OF THE MIDDLE DISTRICT OF FLORIDA
                       JACKSONVILLE DIVISION


NANCY SIMMERSON, as Personal
Representative of the Estate
of Esther Truax, et al.,

            Plaintiff,

      v.                             CASE NO. 3:23-cv-01414-HLA-MCR

THOMAS K. WATERS in his official
capacity as Sheriff of the City of
Jacksonville, Florida, and
ALANNA WOODARD, individually,

           Defendants.
_______________________________________/

                         NOTICE OF SETTLEMENT

      Defendant, THOMAS K. WATERS, hereby give notice under Local Rule

3.09(a), that Defendants have reached a settlement agreement with Plaintiff,

NANCY SIMMERSON as Personal Representative of the Estate of Esther

Truax, regarding all claims in this matter. Plaintiff also agreed to the filing of

this Notice by Defendants. The Parties believe that Court approval of the

settlement is required based on the amount involved and the estate

representing the interest of minors. Plaintiff is in the process of establishing

guardianships for each of the minors entitled to proceeds from the settlement

and will proceed with a motion after that is completed.


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Dated: December 30, 2024

                                    OFFICE OF GENERAL COUNSEL
                                    CITY OF JACKSONVILLE

                                    /s/ Brett G. Mereness
                                    BRETT G. MERENESS, ESQ.
                                    Assistant General Counsel
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                                    Jacksonville, Florida 32202
                                    904-255-5100; 904-255-5120 (fax)
                                    Attorney for Defendant Sheriff/City


                      CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that on this 30th day of December, 2024, I

electronically filed the foregoing with the Clerk of Court by using the CM/ECF

system.


                                    /s/ Brett G. Mereness
                                    Attorney




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